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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




     CALIFORNIA EDUCATORS FOR CV 21-2388 DSF (PVCx)
     MEDICAL FREEDOM, et al.,
         Plaintiffs,          Order GRANTING Defendants’
                              Motion to Dismiss (Dkt. 33)
                     v.

     AUSTIN BEUTNER, et al.,
         Defendants.



          This case arises from a group of Los Angeles Unified School
    District (LAUSD) employees’ objections to an alleged mandate that
    they be vaccinated against COVID-19. Defendants Austin Beutner and
    Linda Del Cueto move to dismiss the First Amended Complaint (FAC).
    Dkts. 33-1 (Mot.), 39. Plaintiffs California Educators for Medical
    Freedom (CEMF), Artemio Quintero, Miguel Sotelo, Janet Phyllis
    Bregman, Cedric Johnson, Misanon Lloyd, Heather Poundstone, and
    Theresa D. Sanford, oppose. Dkt. 37 (Opp’n). The Court deems this
    matter appropriate for decision without oral argument. See Fed. R.
    Civ. P. 78; Local Rule 7-15. For the reasons stated below, the motion is
    GRANTED.

                              I. BACKGROUND

          CEMF is an association of LAUSD employees “whose purpose is
    to advocate for medical choice and bodily autonomy on behalf of its
    members.” Dkt. 25 (FAC) ¶ 10. The remaining plaintiffs are employed
    by LAUSD in various positions including carpenter, electrician, and
    teacher. Id. ¶¶ 11-17. Beutner is the superintendent of LAUSD. Id.
    ¶ 19. Del Cueto is LAUSD’s director of human resources. Id. ¶ 20.
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    A.    COVID-19 Vaccinations

          On January 30, 2020, the World Health Organization declared
    the outbreak of COVID-19 a public health emergency. Id. ¶ 43. In
    April 2020, the U.S. government announced Operation Warp Speed, a
    public/private partnership to develop and distribute a vaccine for
    COVID-19. Id. ¶ 45. Three manufacturers developed vaccines and
    submitted Phase III trial results to the FDA: Moderna, Pfizer, and
    Janssen Biotech. Id. ¶¶ 54-55.

          For a new vaccine to be approved, the manufacturer would
    normally submit an application to the FDA under section 505(b) of the
    Food, Drug, and Cosmetics Act. Id. ¶ 56. None of the three COVID
    vaccines has been approved under section 505(b). Id. Instead, all have
    been authorized for emergency use (EUA) under section 564 of the Act,
    which vests the Secretary of Health and Human Services with
    permissive authority to introduce into commerce a drug, device, or
    biological product intended for use in an emergency. Id. ¶ 57.

          Pfizer and Moderna applied for EUAs in late 2020 and Janssen in
    early 2021. Id. ¶ 60. The FDA granted an EUA for the Pfizer Vaccine
    on December 11, 2020, the Moderna Vaccine on December 18, 2020,
    and the Janssen Vaccine on February 27, 2021. Id. ¶¶ 61-63.

    B.    LAUSD Schools

           On March 16, 2020, LAUSD closed all schools in Los Angeles
    County to in-person instruction. Id. ¶ 74. Around February 2021,
    Beutner and other LAUSD representatives began instructing Plaintiffs
    to make appointments to get vaccinated. Id. ¶ 77. On March 4, 2021,
    Del Cueto distributed an interoffice memorandum to the local district
    superintendents that included an attachment. Id. ¶¶ 78-79. Plaintiffs
    assert the attachment required vaccination for all LAUSD employees
    because it used the word “will.” Id. ¶¶ 79-81. For instance, the
    attachment, titled “Vaccination Guidance for Employees” states, “[y]ou
    will schedule your appointment . . . .” Id., Ex. G.




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          Plaintiffs further allege that Del Cueto told someone in the
    presence of Quintero that the vaccine is mandatory and any refusal by
    an employee to get vaccinated would trigger disciplinary action. Id.
    ¶ 82. Additionally, a union representative informed employees via
    email that LAUSD representatives stated all district employees would
    be required to be vaccinated, with some exemptions. Id. ¶ 83 & Ex. H.
    Plaintiffs do not allege any LAUSD representative directly told them
    they would need to get vaccinated or else incur adverse employment
    actions.

           On March 18, 2021, Del Cueto circulated an updated
    memorandum that gave employees the option either to get vaccinated
    or to submit to COVID-19 tests (the Updated Memorandum). Id. ¶ 86.

                            II. LEGAL STANDARD

          The plaintiff bears the burden of establishing subject matter
    jurisdiction. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,
    377 (1994). Motions to dismiss for lack of subject matter jurisdiction
    are governed by Rule 12(b)(1) of the Federal Rules of Civil Procedure.

           A Rule 12(b)(1) jurisdictional challenge can be facial or factual.
    Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). In
    a facial challenge, the moving party asserts that the allegations in the
    complaint are “insufficient on their face” to establish federal
    jurisdiction. Id. “Whether subject matter jurisdiction exists therefore
    does not depend on resolution of a factual dispute, but rather on the
    allegations in [the] complaint.” Wolfe v. Strankman, 392 F.3d 358, 362
    (9th Cir. 2004). The court accepts the allegations in the complaint as
    true, and the plaintiff need not present evidence outside the pleadings.
    Id.

                               III. DISCUSSION

          Defendants argue Plaintiffs’ claims are not ripe for adjudication.
    Mot. at 5-7. Article III’s “case or controversy” requirement limits
    federal courts’ subject matter jurisdiction by requiring that the plaintiff
    have standing and that the claims be ripe. Allen v. Wright, 468 U.S.



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    737, 750 (1984), abrogated on other grounds by Lexmark Int’l, Inc. v.
    Static Control Components, Inc., 572 U.S. 118 (2014). “The ripeness
    inquiry contains both a constitutional and a prudential component.”
    Oklevueha Native Am. Church of Haw., Inc. v. Holder, 676 F.3d 829,
    835 (9th Cir. 2012) (quoting Portman v. County of Santa Clara, 995
    F.2d 898, 902 (9th Cir. 1993)). Standing and ripeness are closely
    related, but while standing primarily is “concerned with who is a
    proper party to litigate a particular matter, ripeness addresses when
    litigation may occur.” Bova v. City of Medford, 564 F.3d 1093, 1096
    (9th Cir. 2009) (quoting Lee v. Oregon, 107 F.3d 1382, 1287 (9th Cir.
    1997)). Therefore, to some extent, constitutional ripeness may “be
    characterized as standing on a timeline.” Id. at 1096 (quoting Thomas
    v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1138 (9th Cir.
    2000) (en banc)).

          “[R]ipeness is peculiarly a question of timing, designed to prevent
    the courts, through avoidance of premature adjudication, from
    entangling themselves in abstract disagreements.” Thomas, 220 F.3d
    at 1138 (citations and quotation marks omitted). The Court’s role “is
    neither to issue advisory opinions nor declare rights in hypothetical
    cases, but to adjudicate live cases or controversies consistent with the
    powers granted the judiciary in Article III of the Constitution.” Id.

          “A claim is not ripe for adjudication if it rests upon ‘contingent
    future events that may not occur as anticipated, or indeed may not
    occur at all.’” Texas v. United States, 523 U.S. 296, 300 (1998) (quoting
    Thomas v. Union Carbide Agric. Prods. Co., 473 U.S. 568, 580-81
    (1985)). “That is so because, if the contingent events do not occur, the
    plaintiff likely will not have suffered an injury that is concrete and
    particularized enough to establish the first element of standing.” Bova
    v. City of Medford, 564 F.3d 1093, 1096 (9th Cir. 2009).

           In Bova, the Ninth Circuit found the case was not ripe because
    the plaintiffs’ alleged injury, denial of health insurance coverage, had
    not yet happened. Id. at 1096-97. The injury was “contingent upon two
    events: (1) each Plaintiff’s retirement from City service; and (2) the
    City’s official denial of benefits to him or her.” Id. at 1096. It was


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    “possible that neither of the two events w[ould] occur” as “Plaintiffs
    could change jobs, be terminated or die” before retiring. Id. at 1096-97.

           In Texas, the Supreme Court addressed the ripeness of Texas’s
    claim that the Voting Rights Act of 1965 did not apply to the sections of
    the Texas Education Code that permitted Texas to sanction school
    districts for failure to meet state-mandated educational achievement
    levels. 523 U.S. at 297. The Court found the case was not ripe because,
    among other things, Texas did not point to any school district where
    sanctions were foreseen or likely and the Court had “no idea whether or
    when such [a sanction] w[ould] be ordered.” Id. at 300-01 (first
    alteration in original) (quoting Toilet Goods Ass’n, Inc. v. Gardner, 387
    U.S. 158, 163 (1967)).

          Taking all Plaintiffs’ allegations as true, LAUSD has not required
    vaccinations for employees. According to the FAC, in its most recent
    guidance – and the only policy that LAUSD representatives directly
    communicated to employees – LAUSD stated employees can choose to
    either receive the vaccine or be tested for COVID-19. See FAC ¶ 86. As
    in the above cited cases, there has not been an injury, and it is unclear
    if and when there ever would be. For there to be a future injury, (1)
    LAUSD would have to make vaccinations mandatory, (2) at least one of
    the Plaintiffs would have to refuse to receive a vaccine and not qualify
    for any exemption, and (3) LAUSD would have to take an adverse
    employment action against that Plaintiff as a result. This chain of
    events is completely speculative.

           Plaintiffs argue this case is constitutionally ripe because there is
    a threat of future injury. Opp’n at 3-6. However, based on the present
    allegations, there is no threat of future injury because LAUSD
    explicitly stated it is not requiring vaccines. There is no indication,
    beyond Plaintiffs’ speculation, that LAUSD will begin to require
    vaccination of all employees at some point in the future and will not
    offer exemptions for Plaintiffs.

          Plaintiffs also argue that when they filed their complaint, days
    before the Updated Memorandum was sent, they could demonstrate a



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    real and immediate threat of injury in the future. Opp’n at 5 (quoting
    Chapman v. Pier 1 Imps. (U.S.), Inc., 631 F.3d 939, 946 (9th Cir. 2011)).
    They argue Defendants’ voluntary cessation subsequent to the filing of
    this litigation is not sufficient to moot the case. Id. Although “[i]t is
    well settled that a defendant’s voluntary cessation of a challenged
    practice does not deprive a federal court of its power to determine the
    legality of the practice,” Friends of the Earth, Inc. v. Laidlaw Envtl.
    Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (quotation marks omitted),
    according to Plaintiffs’ allegations, Defendants never began the
    objectionable conduct in the first place. Plaintiffs allege LAUSD stated
    employees “will,” be required to be vaccinated, FAC ¶¶ 79, 83, not are
    required to be. There are no allegations that any LAUSD employee
    incurred an adverse employment action from refusal to be vaccinated or
    was directly threatened with an adverse employment action. That
    Defendants were contemplating requiring the vaccine, and then later
    reversed course and explicitly said they would not be, does not create a
    ripe case or controversy.

                              IV. CONCLUSION

          The Court GRANTS Defendants’ Motion and DISMISSES
    Plaintiffs’ claims without prejudice.

       IT IS SO ORDERED.



     Date: July 27, 2021                   ___________________________
                                           Dale S. Fischer
                                           United States District Judge




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